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Attorneys for Intervenor-Plaintiff Alaska Federation of Natives


                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF ALASKA

 UNITED STATES OF AMERICA,

                     Plaintiff,

 KUSKOKWIM RIVER INTER-TRIBAL                      Case No. 1:22-CV-00054-SLG
 FISH COMMISSION, et al.,

                     Intervenor Plaintiffs,

 v.

 STATE OF ALASKA, et al.,

                     Defendants.


                 COMPLAINT IN INTERVENTION BY ALASKA
                       FEDERATION OF NATIVES

      Intervenor-Plaintiff Alaska Federation of Natives (“AFN”), by and through counsel,

Cashion Gilmore & Lindemuth, hereby files this Complaint against Defendants, State of




 COMPLAINT IN INTERVENTION OF ALASKA FEDERATION OF NATIVES
 USA et al. v. State of Alaska et al., Case No. 1:22-CV-00054-SLG             Page 1 of 8


        Case 1:22-cv-00054-SLG Document 97 Filed 10/13/23 Page 1 of 8
Alaska, the Alaska Department of Fish and Game, and Commissioner Douglas Vincent-

Lang (collectively, “Defendants”), by stating and alleging as follows:



       1.       This is an action in intervention in the above-captioned suit filed by Plaintiff

the United States of America seeking (1) a declaratory judgment stating that actions taken

by Defendants interfering with or in contravention of federal orders addressing the Alaska

National Interest Lands Conservation Act (ANILCA) Title VIII and applicable regulations

are invalid, null, and void; and (2) injunctive relief against the State of Alaska, including

all of its officers, employees, and agents, from taking actions interfering with or in

contravention of federal orders authorized by ANILCA Title VIII and applicable

regulations.

       2.       This Complaint incorporates the United States’ Complaint for Declaratory

and Injunctive Relief, ECF No. 1, in its entirety and adopts all arguments and allegations

for relief as its own, as supplemented by the additional allegations in this Complaint in

Intervention.

       3.       Intervenor-Plaintiff AFN is the largest statewide Native organization in

Alaska. It represents over 160,000 Alaska Natives through its membership, which includes

209 federally recognized tribes, 194 Alaska Native corporations established under the

Alaska Native Claims Settlement Act (“ANCSA”)—of which 185 are village corporations,

9 are regional corporations, and 10 are regional nonprofit tribal organizations. The mission

of AFN is to enhance and advance the cultural, economic, and political voice of the Alaska

 COMPLAINT IN INTERVENTION OF ALASKA FEDERATION OF NATIVES
 USA et al. v. State of Alaska et al., Case No. 1:22-CV-00054-SLG                    Page 2 of 8


            Case 1:22-cv-00054-SLG Document 97 Filed 10/13/23 Page 2 of 8
Native community on matters of mutual concern, including subsistence hunting and

fishing. Subsistence is foundational to Alaska Native ways of life and protecting these

time-honored traditions is, and has always been, a matter of critical importance for AFN.

          4.       AFN was formed in 1966 to preserve the land claims—and protect the

traditional subsistence hunting, fishing, and gathering practices—of Alaska Natives. From

1966 to 1971, AFN focused almost exclusively on negotiating a fair and just land

settlement with the United States Congress that would protect Alaska Native ways of life.

This work culminated in the passage of ANCSA in 1971.

          5.       From 1971 to 1980, AFN divided its attention between righting the

subsistence wrongs that ANCSA had failed to remedy, while simultaneously overseeing

the implementation of that law. The State, meanwhile, launched actions aimed at eroding

the subsistence rights of Alaska Natives. This caused Alaska Natives, primarily through

AFN, to go back to Congress once again to secure their hunting, fishing, and gathering

rights.

          6.       In 1980, AFN helped enact the Alaska National Interest Lands Conservation

Act (“ANILCA”).            In enacting ANILCA, Congress recognized that because the

“continuation of the opportunity for subsistence uses of resources on public and other lands

in Alaska is threatened by the increasing population of Alaska . . . [and] by increased

accessibility of remote areas containing subsistence resources,” 16 U.S.C. § 3111(3), it was

necessary and in the national interest “to protect and provide the opportunity for continued

subsistence uses on the public lands by Native and non-Native rural residents.”

 COMPLAINT IN INTERVENTION OF ALASKA FEDERATION OF NATIVES
 USA et al. v. State of Alaska et al., Case No. 1:22-CV-00054-SLG                 Page 3 of 8


               Case 1:22-cv-00054-SLG Document 97 Filed 10/13/23 Page 3 of 8
16 U.S.C. § 3111(4)-(5). Title VIII of the Act reflected Congress’s recognition of the

importance of prioritizing subsistence activities by Alaska Native peoples.

         7.       Title VIII provided for the federal government to regulate subsistence on

public lands unless and until the State enacted its own rural subsistence priority. Once that

was achieved, the State would be allowed to take over jurisdiction of subsistence uses on

public lands.

         8.       The ability of Alaska Native peoples to engage in subsistence activities,

particularly fishing, is essential to their food security, as well as to the preservation of

Alaska Native ways of life. Alaska Natives make up most of the population in the majority

of the State’s most remote, roadless regions, where nonsubsistence foods are not as easily

or affordably available, further compromising food security. Subsistence, and fish in

particular, feeds most rural Native villages. When subsistence resources are taken away,

as has happened in the past under State jurisdiction, the result is economic and cultural

catastrophe for the communities who rely on those resources.

         9.       In a legal battle spanning over 23 years,1 Ahtna elders Katie John, Doris

Charles, AFN, and countless other Alaska Native individuals fought to protect the rural

subsistence priority for Alaska Native residents, as provided for in Title VIII of ANILCA.




1
 Collectively referred to as the Katie John trilogy, the cases are State of Alaska v. Babbitt,
72 F.3d 698 (9th Cir. 1995); John v. United States, 247 F.3d 1032 (9th Cir. 2001); John v.
United States, 720 F.3d 1214 (9th Cir. 2013).

    COMPLAINT IN INTERVENTION OF ALASKA FEDERATION OF NATIVES
    USA et al. v. State of Alaska et al., Case No. 1:22-CV-00054-SLG               Page 4 of 8


              Case 1:22-cv-00054-SLG Document 97 Filed 10/13/23 Page 4 of 8
AFN participated as a party in all three cases (the cases before the Ninth Circuit were the

result of consolidation of the various underlying District Court cases).

       10.    Now, in its cross-motion for summary judgment in this case, the State argues

that Sturgeon v. Frost, 139 S. Ct. 1066 (2019) is “clearly irreconcilable” with the Katie

John trilogy and asks this Court to overturn that entire line of cases, effectively ending the

rural subsistence priority in Title VIII. In other words, the State is asking for this Court to

declare that Congress did not have the constitutional power to enact the rural subsistence

priority in Title VIII of ANILCA, ending that priority forevermore.

       11.    Without the fundamental protection of Title VIII’s rural subsistence priority,

upheld in the Katie John trilogy, food security for Alaska Natives will be significantly

impaired. Applying the “all Alaskans” policy of the State to navigable waters within the

boundaries of federal lands will further diminish what is already, presently, a shortage of

fish. The Katie John line of cases also provided a fragile equilibrium that marked an end

to the subsistence wars of the 1980s and 1990s. That balance must prevail to give effect

to Title VIII of ANILCA.

       12.    The State’s actions have already directly harmed Alaska Native communities

who rely on the Kuskokwim River for subsistence. The State’s further attempts to overturn

the longstanding Katie John precedent and invalidate Title VIII of ANILCA threaten the

entire statewide population of Alaska Natives and their ways of life.




 COMPLAINT IN INTERVENTION OF ALASKA FEDERATION OF NATIVES
 USA et al. v. State of Alaska et al., Case No. 1:22-CV-00054-SLG                   Page 5 of 8


         Case 1:22-cv-00054-SLG Document 97 Filed 10/13/23 Page 5 of 8
                                        COUNT I

                                   (Declaratory Relief)

       13.    In addition to incorporating by reference all allegations and arguments made

by the United States, AFN is entitled to a declaration stating that passage of Title VIII of

ANILCA was a constitutional exercise of Congress’ authority, whether under the Reserved

Water Rights Doctrine, the Property Clause, the Commerce Clause, and/or any other

applicable clause of the United States Constitution or power arising under the Constitution.

                                        COUNT II

                                    (Injunctive Relief)

       14.    In addition to incorporating by reference all allegations and arguments made

by the United States, AFN is entitled to injunctive relief barring Defendants from taking

any actions contrary to the United States’ exercise of its authority through Title VIII of

ANILCA to regulate subsistence activities and priority.

                                PRAYER FOR RELIEF

       WHEREFORE, AFN prays for relief against Defendants as follows:

       A.     A declaratory judgment stating that Defendants’ emergency orders

purporting to open harvest on the public waters of the Kuskokwim River during the federal

closure in 2021 and 2022, and any similar actions interfering with or in contravention of

federal orders addressing ANILCA Title VIII and applicable regulations, are invalid, null,

and void;




 COMPLAINT IN INTERVENTION OF ALASKA FEDERATION OF NATIVES
 USA et al. v. State of Alaska et al., Case No. 1:22-CV-00054-SLG                 Page 6 of 8


         Case 1:22-cv-00054-SLG Document 97 Filed 10/13/23 Page 6 of 8
       B.       A declaratory judgment stating that that passage of Title VIII of ANILCA

was a constitutional exercise of Congress’ authority, whether under the Reserved Water

Rights Doctrine, the Property Clause, the Commerce Clause, and/or any other applicable

clause of the United States Constitution or power arising under the Constitution.

       C.       A preliminary and permanent injunction against the State of Alaska,

including all of its officers, employees, and agents, from reinstating Defendants’ 2021

orders, from proceeding under Defendants’ 2022 orders, or from taking similar actions

interfering with, or in contravention of, the United States’ exercise of its authority through

Title VIII of ANILCA;

       D.       Any and all other relief necessary to fully effectuate any injunction;

       E.       An award to AFN of its fees and costs in this action; and

       F.       Any other relief that the Court deems just and proper.



                                                   CASHION GILMORE & LINDEMUTH
                                                   Attorneys for Intervenor-Plaintiff Alaska
                                                   Federation of Natives


DATE: October 13, 2023                              /s/ Jahna M. Lindemuth
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 COMPLAINT IN INTERVENTION OF ALASKA FEDERATION OF NATIVES
 USA et al. v. State of Alaska et al., Case No. 1:22-CV-00054-SLG                   Page 7 of 8


            Case 1:22-cv-00054-SLG Document 97 Filed 10/13/23 Page 7 of 8
CERTIFICATE OF SERVICE

I certify that on October 13, 2023, a copy
of the foregoing document was served via ECF
on all counsel of record.


/s/ Jahna M. Lindemuth




COMPLAINT IN INTERVENTION OF ALASKA FEDERATION OF NATIVES
USA et al. v. State of Alaska et al., Case No. 1:22-CV-00054-SLG    Page 8 of 8


        Case 1:22-cv-00054-SLG Document 97 Filed 10/13/23 Page 8 of 8
